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 6                         UNITED STATES DISTRICT COURT
 7                        SOUTHERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,     )       Case No. 12CR01916-JAH
                                   )
 9                  Plaintiff,     )
                                   )
10        v.                       )       JUDGMENT AND ORDER OF DISMISSAL
                                   )       OF INDICTMENT AS TO DEFENDANT
11   ALICIA TORRES-MADRIL (2),     )       ALICIA TORRES-MADRIL (2)
                                   )
12                  Defendant.     )
     ______________________________)
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14        Upon motion of the UNITED STATES OF AMERICA and good cause
15   appearing,
16        IT IS HEREBY ORDERED that the indictment only             as to Defendant
17   Two, ALICIA TORRES-MADRIL (2), in the above entitled case be dismissed
18   without prejudice.
19        IT IS SO ORDERED.
20        DATED:June 8, 2012.
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                                       HONORABLE JOHN A. HOUSTON
23                                     United States District Judge
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